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                                                                                   JAMIE SMITH
                                        CAUSE NO. B-0209437                        DISTRICT CLERK
                                                                                   B-209437
JOHN JOSLIN                                          §                 IN THE DISTRICT COURT OF
    Plaintiff                                        §
                                                     §
v.                                                   §
                                                                       JEFFERSON COUNTY, TEXAS
                                                     §
COMBINED LAW ENFORCEMENT                             §
ASSOCIATIONS OF TEXAS                                §
    Defendant                                        §           60TH JUDICIAL DISTRICT COURT

     DEFENDANT COMBINED LAW ENFORCEMENT ASSOCIATIONS OF TEXAS’
             ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES

TO THE HONORABLE COURT:

        COME NOW Defendant, the Combined Law Enforcement Associations of Texas

(“CLEAT”) and files its Answer and affirmative defenses and respectfully shows as follows.

                                         GENERAL DENIAL

        Without waiving any other defense or claim, Defendant CLEAT generally denies all of

plaintiff’s allegations and demands strict proof thereof.

                                     AFFIRMATIVE DEFENSES

        Alternatively, should such be needed, Defendant CLEAT affirmatively pleads the following

affirmative defenses to bar plaintiff’s claims, in whole or in part:

        First Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the defense

of failure to mitigate damages.

        Second Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the

defense of statute of limitations.

        Third Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the defense

of comparative responsibility.

        Fourth Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the

defense of contributory negligence.



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         Fifth Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the defense

of plaintiff’s fault.

         Sixth Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the defense

of modification.

         Seventh Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the

defense of novation.

         Eighth Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the

defense of waiver.

         Ninth Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the defense

of contract between the parties governing the subject matter of the plaintiff’s dispute.

         Tenth Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the

defense of economic-loss rule.

         Eleventh Affirmative Defense. Defendant CLEAT affirmatively claims entitlement to the

defense of unreasonable legal fees.

         This answer and defenses are filed very early in this litigation and as the case develops,

Defendant CLEAT reserves the right to timely file additional affirmative defenses or plead other

appropriate matters as this case progresses.

                                               PRAYER

         WHEREFORE, Defendant CLEAT requests that the plaintiff take nothing by reason of this

suit, and that all court costs be taxed and adjudged against him. Defendant CLEAT requests that

reasonable attorney fees and costs necessary to defend the claim be awarded to Defendant CLEAT.

Defendant CLEAT further prays for such other relief, both general and special, at law and at equity,

to which it may be justly entitled.




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                                                       Respectfully submitted,

                                                       /s/ Manuel Quinto-Pozos
                                                       Manuel Quinto-Pozos
                                                       State Bar No. 24070459
                                                       Deats, Durst & Owen, P.L.L.C.
                                                       707 West 34th Street, Suite 3
                                                       Austin, Texas 78705
                                                       (512) 474-6200
                                                       mqp@ddollaw.com

                                                       Attorney for Defendant CLEAT

                                  CERTIFICATE OF SERVICE

        I certify that a true copy of the above has been sent by electronic service on this the 11th day
of April, 2022, to:

               Timothy M. Ferguson
               The Ferguson Law Firm, LLP
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               Beaumont, Texas 77704-4905
               tferguson@thefergusonlawfirm.com

               Layne Walker, Jr.
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               215 Orleans Street, Suite 300
               Beaumont, Texas 77701
               lwalker@walkerlawtx.com

                                                       /s/ Manuel Quinto-Pozos
                                                       Manuel Quinto-Pozos




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